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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA



 DAVID SAULSBERRY,

 Plaintiff,                                                      Case No. 21-CV-62362

 vs.

 BRITNEY ELDER,

 a/k/a “FTN Bae”,

 Defendant.

                          EMERGENCY PETITION FOR GAG ORDER

          Plaintiff, by and through undersigned, Petitions this Court for a Gag Order on all parties

 of record, and their counsel and associates. In support of Plaintiff’s motion, it states as follows:


       1. Plaintiff is a popular music recording artist signed to a major music label.

       2. Defendant is an Instagram adult model and social media influencer.

       3. Plaintiff has sued Defendant in this Court for various tort claims including, but not

          limited to, libel per se, defamation per se and slander per se regarding Defendant’s false,

          unfounded and outrageous statements Defendant published online on October 27, 2021.

       4. Due to the nature of the false statements published by Defendant online, Plaintiff seeks

          an Emergency Petition to gag all parties from discussing any proceedings, directly or

          indirectly, online or in any other forum.

       5. Defendant continues to discuss the false statements online as to continue to gain notoriety

          and internet fame as Plaintiff is a person of notoriety. Defendant has been successful in

          using her false claims against the Plaintiff to garner notoriety as Defendant increased her

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          overall social media platforms by 100,000 followers since making the false and

          outrageous statements about Plaintiff online.

     6. In Nebraska Press Ass’n. v. Stuart, 427 U.S. 539 (1976), the U.S. Supreme Court

          considered the following factors in analyzing the constitutionality of a gag order: “(a) the

          nature and extent of pretrial news coverage; (b) whether other measures would be likely

          to mitigate the effects of unrestrained pretrial publicity; and (c) how effectively a

          restraining order would operate to prevent the threatened danger [of an unfair trial].”

          That Court found the gag order was justified because publicity of alleged shocking

          crimes would be widespread and would likely reach a jury, impairing the right to a fair

          trial.

     7. Just as in Nebraska, Plaintiff stands to suffer the likelihood of not being advanced a fair

          trial if a gag order is not immediately implemented.

     8. Defendant’s published false statements and doctored audio recording1 on her social

          media platforms, to her almost 600,000 followers and it immediately went viral. Online

          popular blogs like The Shade Room, with over 25 million followers, published several

          stories regarding Defendant’s false statements.2 Several other online media outlets of

          varying size also ran stories based on Defendant’s false statements.3

     9. If this Court does not issue a gag order the nature of the pretrial news coverage will be

          prejudicial and the extent of pretrial news coverage will be extensive and detrimental to

          the Plaintiff.



 1
   Plaintiff is in possession of, at minimum, 4 recordings Defendant sent to Plaintiff prior to Defendant posting the
 audio on her Twitter and Instagram pages on October 27, 2021.
 2
   Instagram @theshaderoom.
 3
   A simple search engine or Youtube keyword search of the terms “Doodie Lo” or “FTN Bae” will populate the
 most popular blog sites who covered Defendant’s false statements.
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     10. There are no other measures available to mitigate the effects of unrestrained pretrial

          publicity. Defendant makes a living online and is desperate for content to continue to

          generate revenue.

     11. A gag order will surely be effective to prevent the threatened danger of an unfair trial to

          both the Plaintiff and Defendant. More importantly the gag order will be effective to

          preserve the integrity of the alleged victim who is a minor child and otherwise has no say

          or participation in these proceedings. It is clear, evident and undisputed that the minor

          child never accused the Plaintiff of any wrongdoing until coerced to do so by the

          Defendant.4

     12. Again, like in Nebraska, due to the outrageous, extreme and false nature of Defendant’s

          statements publicly of shocking crimes allegedly perpetrated by the Plaintiff, the

          information would be widespread and would likely reach a jury, impairing the Plaintiff a

          right to a fair trial.


 WHEREFORE, Plaintiff requests this Court grant its request and impose a Gag Order on all

 parties, and their respective attorneys and associates, from discussing any aspect of these

 proceedings in any manner on any forum.




 4
   Plaintiff is in possession of multiple recordings sent to Plaintiff by Defendant regarding Defendant’s minor child
 initially disclosing an assault involving another minor child “Alex”, as well as text messages Defendant circulated to
 friends and family of Plaintiff attached herein as Exhibit “A.”
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

 via e-mail generated by the Florida Court E-Filing Portal this 17th day of November, 2021, upon

 all of record.


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                              EXHIBIT
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